                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF VIRGINIA
                                          DANVILLE DIVISION



     UNITED STATES OF AMERICA
                                                             Criminal Action No. 4:18cr00011
     v.

     KEVIN L. TRENT, JR.


                        MOTION IN LIMINE REGARDING OBJECTIONS AT TRIAL


             Comes now the Defendant, Kevin L. Trent, Jr., by counsel, for the sake of order and

     expediency in front of the jury and for the sake of the record, moves the Court for an Order

     recognizing that – unless otherwise noted – objections made a trial by one defendant is

     joined in by all other defendants without requiring every defendant to note the objection.


             Respectfully submitted this 11th day of October, 2019,


                                                             KEVIN L. TRENT, JR.

                                                             By Counsel

                                                             /s/ Aaron L. Cook
                                                             Counsel for Mr. Trent

                                                             /s/ James C. Turk
                                                             Counsel for Mr. Trent




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  Case 4:18-cr-00011-MFU-RSB Document 904 Filed 10/11/19 Page 1 of 2 Pageid#: 5981
                                          CERTIFICATE OF SERVICE

             I hereby certify that on this 11th day of October, 2019, I electronically filed the
     foregoing with the Clerk of Court using the CM/ECF System which will send notification of
     such filing to all parties.

                                                             /s/ Aaron L. Cook




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  Case 4:18-cr-00011-MFU-RSB Document 904 Filed 10/11/19 Page 2 of 2 Pageid#: 5982
